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                              EXHIBIT

                                       N
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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

 ------------------------------------------------------------ x
                                                              :     Chapter 11
 In re:                                                       :
                                                              :     Case No. 22-50073 (JAM)
                  Ho Wan Kwok,                                :
                                                              :
                                              Debtor.         :
 ------------------------------------------------------------ x

     PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.’S NOTICE OF
 DEPOSITION OF HONG KONG INTERNATIONAL FUNDS INVESTMENTS (USA)
      LLC PURSUANT TO RULE 30(b)(6) OF THE FEDERAL RULES OF
                        CIVIL PROCEDURE

To:       Hong Kong International Funds Investments (USA), LLC
          C/O Zeisler & Zeisler, P.C.
          10 Middle Street, 15th Floor
          Bridgeport, CT 06604

          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure (the “Federal Rules”) Pacific Alliance Asia Opportunity Fund L.P. (“PAX”) shall take

the deposition of Hong Kong International Funds Investments (USA) LLC (“HKI Delaware”) by

the person(s) most qualified to testify on HKI Delaware’s behalf with respect to the topics

described below.

          The deposition will commence by remote video conference, on May 16, 2022 at 10:00am

(Prevailing Eastern Time).

          PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 30(b)(6) of the Federal

Rules, HKI Delaware is required to designate one or more officers, directors, managing agents, or

other person who will testify on its behalf with respect to each of the topics below. PAX reserves

all rights, including, but not limited to, the right to take additional depositions of HKI Delaware

and others, and to expand on the deposition topics listed below.
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       The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths, by remote video conference, and may be recorded by videographer and/or by

stenographic means.

       PLEASE TAKE FURTHER NOTICE that:

       1.      The deposition will be conducted remotely, using audio-visual conference

technology;

       2.      The court reporter will either report the deposition from the same location as the

witness or a location separate from the witness and will remotely administer the oath to the witness;

       3.      Counsel for the parties and their clients will participate either from the same

location or from separate locations;

       4.      The witness may be required to provide government-issued identification, which

must be legible on camera;

       5.      Each participating attorney may be visible to all other participants, and their

statements will be audible to all participants;

       6.      All exhibits will be provided electronically to the witness and all participants;

       7.      The court reporter will record the testimony;

       8.      The deposition may be recorded by stenographic, electronic, and/or visual means;

and

       9.      Counsel for all parties will be required to stipulate on the record their consent to

this manner of deposition and their waiver of any objection to this manner of taking the deposition,

including any objection to the admissibility at trial of this testimony based on the manner of remote

deposition taking.
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                                        DEFINITIONS

a.    “Asset” means any asset or property whatsoever, whether tangible or intangible, including,

      without limitation, cash, bank accounts, brokerage accounts, real property, land, corporate

      shares, membership or interest in a limited liability company or partnership, stocks, shares,

      bonds, investments, investment vehicles, actual or potential judgments, liens, easements,

      attachments, leases, intellectual property including, without limitation, patents and

      trademarks, automobiles, airplanes, helicopters, sea vessels, vehicles, artwork, collectibles,

      clothing, jewelry, cryptocurrency, crypto-wallets, safe deposit boxes, chattel, precious

      stones or metals, pledged or hypothecated assets, contingent financial interests, options,

      warrants, securities, commodities, receivables, convertible loans, and interests derived

      from financial instruments, whether directly or indirectly held.

b.    “Bankruptcy Code” means Title 11 of the United States Code.

c.    “Communication” means the transmittal of information (in the form of facts, ideas,

      inquiries, or otherwise) and/or any other communicative contact between two or more

      Persons and/or entities, and shall include, without limitation: written contacts by such

      means as any Document as defined herein, and oral contact by such means as face-to-face

      or in-person meetings, telephone conversation, e-mail, and any other form of electronic

      communication such as telecopy transmissions, telexes, telegrams, and video

      transmissions, and the originals, drafts, copies, and all non-identical copies of all

      Documents.

d.    The “Chapter 11 Proceedings” means In re Ho Wan Kwok, Case No. 22-50073 (Bankr. D.

      Conn.).
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e.    “Debtor” refers to Miles Kwok a/k/a Kwok Ho Wan, a/k/a Kwok Ho, a/k/a Gwo Wen Gui,

      a/k/a Guo Wengui, a/k/a Guo Wen-Gui, a/k/a Wan Gue Haoyun, a/k/a Haoyun Guo.

f.    “Director,” “officers,” “member,” “partner,” “limited partner” or “agent” means any

      individual or entity serving as such presently or who served in such capacity at any relevant

      time, even though no longer serving in such capacity.

g.    “HKI Delaware”, “You”, or “Your” refers to Hong Kong International Funds Investments

      (USA), LLC.

h.    “Including” means including, but not limited to.

i.    “Interest” means any direct or indirect interest, whether partial, whole, potential, or

      contingent, including, without limitation, legal ownership, beneficial ownership, right to

      control, ownership of any or all of the shares of an incorporated entity, membership or

      interest in a limited liability company or partnership, or access to funds or assets.

j.    “List of Codebtors” refers to the List of Codebtors attached to Schedule H in the Debtor’s

      Summary of Assets and Liabilities and Certain Statistical Information [ECF 78].

k.    “Or” means “and/or” and is used in the inclusive sense.

l.    “Person” includes natural persons, as well as corporations, proprietorships, limited liability

      companies, partnerships, joint ventures, associations, combinations, unions, governmental

      bodies and agencies, and any and all other entities.

m.    “Proposed Plan of Reorganization” refers to The Proposed Chapter 11 Plan of Ho Wan

      Kwok [ECF 197].

n.    “Relating to” as used herein shall mean concerning, being connected to, commenting on,

      responding to, containing, constituting, showing, memorializing, describing, analyzing,
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      reflecting, pertaining to, compromising, identifying, discussing or otherwise establishing

      reasonable, logical or causal connection to.
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                                RULE 30(b)(6) DEPOSITION TOPICS

      1.      The formation and business purpose of HKI Delaware.

      2.      The corporate and organizational structure of HKI Delaware.

      3.      HKI Delaware’s employees, officers and directors.

      4.      HKI Delaware’s source of revenue and funding.

      5.      The Assets and liabilities of HKI Delaware, including without limitation how and

when they were obtained.

      6.      The Debtor’s Interest in HKI Delaware.

      7.      The Lady May, including without limitation:

              (a) the purchase of the Lady May;

              (b) any actual or potential transfers of the Lady may or of any ownership or Interest
                  in the Lady May;

              (c) the listing and/or potential sale of the Lady May or of any ownership or Interest
                  in the Lady May;

              (d) any individuals who use or work on the Lady May;

              (e) any monies transferred relating in any way to the Lady May;

              (f) the decision to sail the Lady May from United States waters to the Bahamas in
                  or around October 2020;

              (g) the current location of the Lady May;

              (h) all past and present mortgages, encumbrances, liens, trusts, and pledges relating
                  to the Lady May; and

              (i) the Debtor’s Interest in the Lady May.

      8.      Communications with the Debtor regarding the lawsuit filed by HKI Delaware in

these Chapter 11 Proceedings.

      9.      Communications with the Debtor regarding the Proposed Plan of Reorganization.
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      10.     HKI Delaware’s relationship with the Debtor and any of the entities listed on the

Debtor’s List of Codebtors.




Dated: May 4, 2022
       New York, New York

                                           /s/ Peter Friedman
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